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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

In re MEDTRONIC, INC. SECURITIES      )   Master File No. 0:13-cv-01686-MJD-KMM
LITIGATION                            )
                                      )   CLASS ACTION
                                      )
This Document Relates To:             )   CLASS REPRESENTATIVES’
                                      )   UNOPPOSED MOTION FOR
        ALL ACTIONS.                  )   PRELIMINARY APPROVAL OF
                                      )   SETTLEMENT




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        Class Representatives Employees’ Retirement System of the State of Hawaii, Union

Asset Management Holding AG, and West Virginia Pipe Trades Health & Welfare Fund

respectfully move this Court pursuant to Federal Rule of Civil Procedure 23 for an Order

preliminarily approving the terms of the Settlement set forth in the Stipulation of Settlement

dated July 17, 2018 (the “Stipulation”); approving the form and manner of notice of the

Settlement to the Class; and scheduling a final approval hearing date.

        This motion is based on the supporting memorandum, the Stipulation and supporting

exhibits, the papers and filings on record in this matter, and such additional evidence or

argument as may be presented at the hearing.

DATED: July 18, 2018                         Respectfully submitted,

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